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                                        UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                                 DALLAS DIVISION


     In re                                                  Chapter 11
     ERG Intermediate Holdings, LLC, et al.,1
                                                            Jointly Administered
                                  Debtors.                  Case No. 15-31858-hdh-11

              CLMG CORP.’S OPPOSITION TO THE MOTION OF THE OFFICIAL
              COMMITTEE OF UNSECURED CREDITORS TO TRANSFER VENUE

                      CLMG Corp. (“CLMG”), in its capacities as the Prepetition Agent and the DIP

     Agent,2 hereby files this opposition to the Motion of the Official Committee of Unsecured

     Creditors to Transfer Venue [D.I. 94] (the “Motion”), filed by the Official Committee of

1
     The Debtors in these cases, along with the last four digits of their respective federal tax identification
     numbers, are ERG Intermediate Holdings, LLC (2521); ERG Resources, L.L.C. (0408); West Cat
     Canyon, L.L.C. (7377); ERG Interests, LLC (2081); and ERG Operating Company, LLC (8385)
2
     As used herein, the terms “Prepetition Agent” and “DIP Agent” shall mean, respectively, the “Pre-
     Petition Agent” and the “DIP Agent” as such terms are defined in the Debtors’ Motion for Entry of
     Interim and Final Orders Pursuant to Sections 361, 362, 363 and 364 of the Bankruptcy Code and Rule
     4001 of the Federal Rules of Bankruptcy Procedure (a) Authorizing the Debtors to (i) Use Cash
     Collateral of the Pre-Petition Secured Parties, (ii) Obtain Post-Petition Financing and (iii) Provide
     Adequate Protection to the Pre-Petition Secured Parties, (b) Prescribing Form and Manner of Notice of
     and Scheduling Final Hearing and (c) Granting Related Relief [D.I. 15] (the “DIP Motion”).



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 Unsecured Creditors (the “Committee”) appointed in the Debtors’ chapter 11 cases (the

 “Chapter 11 Cases”), and respectfully states:

                                         INTRODUCTION

        It is well established in this Circuit that a debtor’s choice of forum should not be

 disturbed absent extraordinary circumstances. No such circumstances exist here. The Debtors

 chose to commence the Chapter 11 Cases in this District—one of several proper venues—

 because this District is an efficient and cost effective venue. Indeed, this Court is ideally situated

 to preside over these Chapter 11 Cases. Not only is this Court close to the key parties that will

 ultimately determine the success of these cases, but it is readily accessible to parties located

 further away and has efficiently and successfully handled many similar cases.

        The Motion should be denied for at least three primary reasons. First, this Court is

 located approximately 20 miles from the executive offices of CLMG and LNV Corporation

 (“LNV”). CLMG is the Prepetition Agent and the DIP Agent. LNV is the Prepetition Lender

 and the DIP Lender. The Prepetition Lender is owed approximately $400 million and has a lien

 in substantially all of the Debtors’ assets. All other creditors of the Debtors are owed, at most,

 $20 million—a tiny fraction of what is owed to CLMG—and are largely unsecured.

        LNV has also agreed to provide up to $17.5 million in DIP financing to the Debtors.

 Such financing is absolutely critical to the Chapter 11 Cases. Without it, the Debtors would be

 unable to operate, leaving unsecured creditors with no recoveries and the Debtors’ employees

 without jobs. Further, if no suitable purchaser for the Debtors’ California assets emerges from

 the sales process, LNV may also become the purchaser pursuant to a credit bid. And, recoveries

 to the Debtors’ unsecured creditors will depend on negotiations between the Debtors, CLMG,

 LNV, and the Committee, all of which will likely occur over the phone or in Dallas. In short,

 CLMG and LNV will play critical roles in these cases and filing the Chapter 11 Cases in a proper


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 forum that is easily accessible to CLMG and LNV makes perfect sense, maximizes efficiency,

 and is unremarkable.

        Second, this forum is not only convenient to CLMG and LNV; it is convenient for the

 Debtors as well. The Debtors’ executive offices (and executive officers) are located in Houston,

 Texas, a mere hour by air from this Court. Attending hearings before this Court will not be

 burdensome to the Debtors. On the other hand, attending hearings over 1,400 miles away in

 Santa Barbara would be extremely burdensome, requiring the Debtors to obtain local counsel and

 travel extensively to do so.

        Third, not only are the Debtors, the Prepetition Agent, the DIP Agent, the Prepetition

 Lender, and the DIP Lender located in Texas, but, once the California assets are sold, the

 Debtors will attempt to reorganize exclusively around their Texas assets. It makes perfect sense

 for this Court to preside over such a reorganization. The Committee’s request to transfer venue

 to California does not make sense. Indeed, if the Committee has its way, the Debtors would be

 forced to fly from Texas to Santa Barbara to confirm a plan that will affect property located

 exclusively in Texas.

        Importantly, LNV has a strong interest in assuring that these cases proceed in an efficient

 venue. LNV is likely significantly undersecured and the DIP loans it is prepared to extend to

 fund these Chapter 11 Cases represent substantial expenses that LNV will not recover. Under

 these circumstances, CLMG and LNV strongly prefer that these cases proceed in this Court. A

 change of venue will disrupt these cases and unnecessarily increase costs. The DIP Lender

 should not be required to fund and the Prepetition Lender should not be required to bear these

 costs when already faced with the prospect of substantial losses.

        The Committee ignores all of these facts and urges the Court to second guess the




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 Debtors’ choice of venue by moving these cases to Santa Barbara. The Committee argues that

 such a move would allow both Committee members and “mom and pop” creditors to participate

 more actively in these cases. This argument is misplaced. The Committee will ably represent its

 constituency regardless of venue and it will not be significantly more costly to its constituents for

 these cases to proceed here than it would be in Santa Barbara. Contrary to what is stated in the

 Motion, only one member of the Committee is located in Santa Barbara. Further, the Chairman

 of the Committee is located in Texas and one of the primary lawyers representing the

 Committee, Robert Feinstein, is located in New York City—a continent away from Santa

 Barbara. In addition, a change of venue to Santa Barbara will provide no substantial benefit to

 the “mom and pop” creditors that the Committee professes to represent. Such creditors do not

 regularly attend court hearings, and their interests as unsecured creditors will be ably represented

 by the Committee in this Court. Further, this Court readily allows parties to appear by phone

 when necessary and the Debtors have retained a claims agent to make sure that proofs of claim

 can be easily filed and efficiently handled.

        Even if “mom and pop” creditors could obtain some tangible advantage from a change of

 venue (which CLMG does not concede), the costs imposed on the Debtors, CLMG, and LNV

 would far exceed any such benefit. Forcing the Debtors and their professionals, and CLMG and

 LNV, to regularly travel cross country to attend hearings is simply not justified by the theoretical

 possibility that a “mom and pop” creditor might obtain a marginal benefit by a change of venue.

        Perhaps recognizing these weaknesses, the Committee alternatively proposes that venue

 be moved to other Texas districts which neighbor this one. Neither of those districts is more

 convenient than this one, and, in any event, even a showing that another venue might be

 preferable is not sufficient to warrant a transfer of venue.




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             The Debtors have chosen to file the Chapter 11 Cases in this District. That choice is,

     without question, proper and reasonable. The Debtors are located in Texas. Their largest

     creditor and the DIP Lender are located in Texas, and the Debtors will ultimately reorganize

     around their Texas assets. The Motion should be denied.

                                                    FACTS

             1.      In the Motion, the Committee presents a skewed version of the facts, identifying,

     distorting, and sometimes inventing facts helpful to their argument, while omitting others

     relevant to the determination of whether venue is proper in this District. The following

     additional facts complete the record and support denial of the Motion.

     A.      The Debtors’ Business Operations Are Conducted in Texas

             2.      As stated in the Declaration of R. Kelly Plato in Support of First Day Pleadings

     [D.I. 19] (the “Plato Declaration”), the Debtors’ corporate headquarters is located in Houston,

     Texas. Plato Decl. ¶ 6. The Debtors’ key executives and managers, including CEO R. Kelly

     Plato and CRO Rebecca Roof, are all located in Houston. Importantly, among other things, the

     Prepetition Credit Agreement,3 the Guaranty,4 the DIP Credit Agreement,5 and the proposed Bid

     Procedures6 were negotiated and executed by the Debtors in their Houston office. Additionally,

     the majority of the Debtors’ prepetition efforts to market and sell their assets occurred at their

     corporate headquarters in Houston.


3
     The “Prepetition Credit Agreement” is that certain Credit Agreement, dated as of January 24, 2013, by
     and among ERG Resources, L.L.C., CLMG, and certain lender parties thereto, as amended from time to
     time.
4
     The “Guaranty” is that certain Guaranty, dated as of January 24, 2013, in favor of CLMG executed by
     ERG Intermediate Holdings, LLC, West Cat Canyon, LLC, ERG Operating Company, LLC, and ERG
     Interests, LLC.
5
     The “DIP Credit Agreement” has the meaning ascribed to such term in the DIP Motion.
6
     The term “Bid Procedures” refers to the bid procedures requested in the Motion of the Debtors for Entry
     of Orders: (i) Establishing Bidding and Sale Procedures; (ii) Approving the Sale of Assets; and
     (iii) Granting Related Relief [D.I. 20] (the “Sale Procedures Motion”).


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        3.       Though their operations are in Houston, the Debtors also hold substantial assets in

 Dallas. Indeed, ninety percent of their cash is held in bank accounts located at Citibank, N.A.’s

 Dallas location.

 B.     The Debtors’ Largest Creditors and Those Essential to the Administration of the
        Chapter 11 Cases Are Located in Texas

        4.       LNV (the “Prepetition Lender,” or, the “DIP Lender,” as applicable) is the

 Debtors’ largest creditor. Pursuant to the Prepetition Credit Agreement and the Guaranty, each

 of the Debtors is directly liable to the Prepetition Lender in an amount that exceeds

 $400 million—approximately 96% of the Debtors’ outstanding debt as of the Petition Date. See

 Plato Decl. ¶¶ 13-14 (principal amount outstanding is approximately $372 million with interest

 unpaid since Sept. 30, 3014 and other expenses accruing). Unfortunately, though this debt is

 secured, it most likely far exceeds the value of the assets securing it. As such, the Prepetition

 Lender will hold a substantial unsecured deficiency claim, which it believes will dwarf all other

 unsecured claims in these Chapter 11 Cases. Additionally, LNV, in its capacity as the DIP

 Lender, is prepared to extend up to $17.5 million of post-petition financing to fund the Debtors’

 operations through the conclusion of the Chapter 11 Cases on the terms and conditions set forth

 in the DIP Credit Agreement. Without such financing, the Debtors would be unable to operate

 and would have to be liquidated. A liquidation would eliminate any material recoveries for

 general unsecured creditors.

        5.       CLMG serves as the agent for the Prepetition Lender. CLMG is also the agent for

 the DIP Lender. CLMG and LNV each maintain offices in Plano, TX, which is approximately

 20 miles away from this Court. All of the principals working on this case on behalf of CLMG

 and LNV are located in Plano, TX.

        6.       Additionally, Baker Petrolite Company (the chair of the Committee), Chevron



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 (the Debtors’ second largest unsecured creditor), and BP Energy Company (the holder of a large

 call option) all have offices in Texas. Chevron has made an appearance in this case through

 Texas counsel.

        7.        In sum, even excluding the contingent claims of BP Energy Company, solely

 California-based creditors hold only approximately 2% of the Debtors’ prepetition debt by

 amount.

 C.     Mr. Wood Has No Role in the Debtors’ Operations

        8.        The Committee choses to focus part of its argument in the Motion on Mr. Wood

 and his Lambert Road Property (as that term is defined in the Motion). Mr. Wood is not a

 Debtor. Moreover, pursuant to that certain Restructuring Support Agreement by and between the

 Prepetition Lender, the Prepetition Agent, and the Debtors, executed on April 30, 2015 (the

 “RSA”), Mr. Wood resigned from all positions and titles with respect to the Debtors. As such,

 he will have no significant involvement in the Chapter 11 Cases. Even so, Mr. Wood’s primary

 residence is in the Houston area.

 D.     The Debtors’ Plan to Reorganize Is Contemplated to Involve Only Their Assets in
        Texas

        9.        As explained in the Plato Declaration, the Debtors’ objectives in the Chapter 11

 Cases are to the sell their California assets and then pursue a plan of reorganization based upon

 their remaining assets in Liberty County, Texas. Plato Decl. ¶ 3. To that effect, on May 1, 2015,

 the Debtors filed the Sale Procedures Motion. Pursuant to the Sale Procedures Motion, the

 Debtors propose to sell their assets located in California in an auction conducted under the

 supervision of this Court to be held on July 16, 2015. Sale Procedures Mot., at 11. Thus,

 provided the Bid Procedures are approved, on or about July 16, 2015, no Debtor will own any

 property in California, and many of the claims of California-based creditors will be resolved in



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     connection with the sale of the California assets.

                                                 ARGUMENT

     A.      Venue in the Northern District of Texas Is Proper
             10.     In the Motion the Committee implies, without expressly stating, that venue is

     technically improper in this District. Such implications do not meet the Committee’s burden to

     establish improper venue and, in any event, are substantively wrong. See In re Peachtree Lane

     Assocs., Ltd., 150 F.3d 788, 792 (7th Cir. 1998) (venue of filing presumed proper; party

     challenging bears burden of showing case was incorrectly venued); In re Washington, Perito &

     Dubuc, 154 B.R. 853, 859 (Bankr. S.D.N.Y. 1993) (“The burden rests on the Movants to

     demonstrate by a preponderance of the evidence that the Chapter 11 petition was filed in the

     wrong district.”).7

             11.     Section 1408(1) of title 28 of the United States Code (the “Judicial Code”),

     which determines venue for bankruptcy cases, contains a disjunctive test which provides that

     venue is proper in any district in which the debtor has its domicile, residence, principal place of

     business in the United States, or principal assets in the United States. See 28 U.S.C. § 1408(1);

     see also Washington, Perito & Dubuc, 154 B.R. at 859 (“Since the test is in the alternative,

     venue may properly lie in more than one district.”). Venue is also proper in the district in which

     an affiliate is the subject of a bankruptcy case. Id. at § 1408(2). In this case, venue is proper

     because the Debtors are each incorporated in the state of Texas and are, therefore, domiciled in

     any district in Texas, including this one. In re Horton Wison Deepwater, Inc., No. 15-40827-

     DML, Order Denying Creditor’s Amended Motion to Dismiss for Improper Venue, No. 53

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     The Committee contorts itself to avoid conceding that venue is proper in this District, but effectively
     acknowledges that it is. At one point, the Committee asserts that the Debtors’ decision to file here “is
     wholly improper regardless of whether the filing in [this District] is technically proper because certain
     Debtors are domiciled in Texas . . . .” Mot. ¶ 31. The Committee unduly discounts the value of technical
     compliance with a clear rule.


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 (Bankr. N.D. Tex. May 14, 2015) (holding that “the Northern District of Texas is a proper venue

 for the Debtor’s bankruptcy case pursuant to 28 U.S.C. § 1408(1) because the Debtor is

 incorporated, and thus domiciled, in the State of Texas”) (attached hereto as Exhibit A).

         12.     ERG Intermediate Holdings, LLC (“Holdings”), the lead debtor in the Chapter 11

 Cases, filed its petition for relief first. Holdings is the direct or indirect corporate parent of all of

 the other Debtors. See Plato Decl. Ex. A. It is incorporated in Texas. See Voluntary Petition, at

 1 [D.I. 1]. Accordingly, Holdings is also located in Texas. See In re B.L. of Miami, Inc., 294

 B.R. 325, 328 (Bankr. D. Nev. 2003) (“Since Debtor is incorporated here in Nevada, the District

 of Nevada may be considered Debtor’s domicile and venue is thus proper under § 1408(1).”); In

 re FRG, Inc., 107 B.R. 461, 471 (Bankr. S.D.N.Y. 1989) (“[A] corporation’s domicile is

 generally held to be its state of incorporation . . . .”); In re Innovative Commc’n Co., 385 B.R.

 120, 125 (Bankr. D. Del. 2006) (“Venue is appropriate in the state of incorporation, 28 U.S.C.

 § 1401(1) . . . .”). Unlike the principal assets and principal place of business tests, incorporation

 is not location specific; rather, it is state specific. As a result, a debtor domiciled in a state may

 commence a bankruptcy case in any district within such state, and Holdings properly

 commenced its Chapter 11 Case here.

         13.     The Committee’s implication that a filing based on domicile is improper is

 particularly confusing given the Committee’s choice of counsel. Counsel to the Committee,

 Pachulski Stang Ziehl & Jones LLP, is well aware that a debtor may properly file in its state of

 incorporation, even if it has no assets or operations there (which is not the case here). Indeed, a

 noted academic study published in 2005 recognized Los Angeles-based Pachulski as an early and

 frequent proponent of venue in Delaware based on incorporation, going so far as to open a

 satellite office in the state to take advantage of this basis for venue. See Lynn M. LoPucki,




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     Courting Failure: How Competition for Big Cases Is Corrupting the Bankruptcy Courts 128-29

     (Univ. of Mich. Press 2005). Since then, Pachulski has kept up the practice. Exhibit B hereto

     lists cases that Pachulski filed between 2006 and the present based on the lead debtor’s

     incorporation in Delaware where the debtors’ principal places of business were not in Delaware.

     As shown on Exhibit B, Pachulski filed not fewer than thirty such cases, including six in which

     the debtors’ principal places of business were in California and four in which the debtors’

     principal places of business were in Texas.

             14.      Once Holdings’ Chapter 11 Case was properly commenced in this District, this

     District became proper venue for all of the other Debtors without more. See 28 U.S.C.

     § 1408(2). Venue is proper.8

     B.      The Committee Fails to Carry Its Burden to Show the Chapter 11 Cases Should Be
             Transferred
             15.      The Committee asks that venue be transferred for the convenience of the parties

     and in the interest of justice to nearly any available venue but Dallas. The Committee prefers a

     transfer to the Northern Division of the Central District of California, but alternatively requests a

     transfer to the Eastern District of Texas or the Southern District of Texas. The centerpiece of the

     Committee’s argument in favor of moving the cases to California is its assertion that there are

     “many California-based, family-owned businesses who [sic] are owed significant amounts by the

     Debtors and cannot afford the additional expense of traveling to Texas and engaging local



8
     Notably, when Holdings filed, it could not have filed in any district in California. As set forth in the Plato
     Declaration, Holdings is a holding company whose sole asset is its interest in ERG Resources, L.L.C.
     (“Resources”), a Texas limited liability company. See Plato Decl. ¶ 10 & Ex. A (corporate
     organizational chart). Accordingly, Holdings is domiciled in Texas, has its principal place of business in
     Texas, and its primary asset, Resources, is a Texas company. Under these circumstances, the only proper
     venues in which Holdings could commence bankruptcy proceedings were in Texas. Cf. In re Scotia Dev.,
     LLC, No. 07-20027, 2007 WL 1192137, at *7 (Bankr. S.D. Tex. Apr. 20, 2007) (rejecting request for
     transfer from venue of first filing debtor (a minor subsidiary of the debtors’ enterprise); noting that first
     filing debtor could not have filed in movants’ preferred venue).


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 counsel.” Mot. ¶ 2. Because it serves the Committee’s narrative, the Committee focuses on

 these creditors, which are unlikely to attend hearings in the Chapter 11 Cases regardless of where

 they proceed, to the exclusion of CLMG—the Prepetition Agent and the DIP Agent, representing

 the Debtors’ largest creditor, the DIP lender and, perhaps, the purchaser of the California

 assets—which is certain to attend the vast majority of hearings in the Chapter 11 Cases.

        16.      The alternative relief the Committee requests—a transfer to the Southern District

 of Texas or the Eastern District of Texas—belies the Committee’s concern for these California

 creditors. These alternative Texas venues would be no more convenient for parties in California

 than the Debtors’ chosen venue. Indeed, the Committee’s willingness to accept one of two

 venues neighboring this District suggests that the Committee’s real motivation in filing the

 Motion is to impose costs on the Debtors, CLMG, and LNV, and thereby gain leverage in

 negotiations surrounding unrelated issues. These are not valid reasons to transfer venue.

        17.      The transfer of a bankruptcy case is governed by section 1412 of the Judicial

 Code and Rule 1014(a) of the Federal Rules of Bankruptcy Procedure. Those statutes provide

 that a Bankruptcy Court may transfer a case to another district for the convenience of the parties

 or in the interests of justice. 28 U.S.C. § 1412; Fed. R. Bankr. P. 1014(a)(1). The statute is

 permissive rather than mandatory. In re Larzo, 128 B.R. 168, 171 (Bankr. W.D. Tex. 1991). As

 such, the decision of whether to transfer venue is left to the sound discretion of the court, as

 informed by the particular facts and circumstances of the case. In re Adkins Supply, Inc.,

 No. 11-10353-RLJ-7, 2015 WL 1498856, at *5 (W.D. Tex. Mar. 27, 2015); accord Gulf States

 Exploration Co. v. Manville Forest Prods. Corp. (In re Manville Forest Prods. Corp.), 896 F.2d

 1384, 1391 (2d Cir. 1990).

        18.      Where a party moves to disturb a debtor’s proper choice of venue, the burden lies




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 with the movant to show why the debtor’s choice should be disturbed. Peteet v. Dow Chem. Co.,

 868 F.2d 1428, 1436 (5th Cir. 1989). The burden is a particularly heavy one. Even if the

 movant shows that another venue might be superior, this still may be inadequate to support its

 request for relief. See, e.g., In re Enron Corp., 274 B.R. 327, 342-43 (Bankr. S.D.N.Y. 2002)

 (“Where a transfer would merely shift the inconvenience from one party to the other, or where

 after balancing all the factors, the equities leaned but slightly in favor of the movant, the debtor’s

 choice of forum should not be disturbed.”) (internal quotations and modifications omitted); In re

 Bennett Funding Grp., Inc., 259 B.R. 243, 251 (N.D.N.Y. 2001) (“Plaintiff’s choice of forum is

 normally entitled to substantial weight and should not be disturbed unless the balance of factors

 is strongly in favor of the defendant.”) (internal quotations omitted).

        19.      In short, a debtor is entitled to considerable deference if its choice of venue is

 proper. See Enron, 274 B.R. at 342 (“A debtor’s choice of forum is entitled to great weight if

 venue is proper.”); In re Terry Mfg. Co., 323 B.R. 507, 509 (Bankr. M.D. Ala. 2005) (“[T]here is

 a strong presumption in favor of maintaining venue where the bankruptcy case is pending.”); In

 re Del. & Hudson Ry. Co., 96 B.R. 467, 467 (Bankr. D. Del. 1988) (“When venue is proper, the

 debtor’s choice of forum is entitled to great weight.”) (internal quotations omitted), aff’d, 884

 F.2d 1383 (3d Cir. 1989). Consistent with these well-established principles, the Fifth Circuit has

 instructed that the power to transfer a case or proceeding should be exercised cautiously.

 Commonwealth of Puerto Rico v. Commonwealth Oil Ref. Co. (In re Commonwealth Oil Ref.

 Co.), 596 F.2d 1239, 1241 (5th Cir. 1979) (“CORCO”).

        20.      Here, the Committee has failed to meet its burden. Read in the absolute most

 favorable light possible, the Motion merely establishes that a transfer of venue might shift some

 potential costs from California creditors (which hold approximately 2% of the debt) to the




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 Debtors, CLMG, and LNV. That is simply not enough to warrant a change of venue, especially

 in cases such as these where the bulk of the primary decision makers are located in Texas. The

 Motion should be denied.

                         1. The Convenience of the Parties Will Be Enhanced If Venue Is
                            Maintained in This District
        21.        Courts in the Fifth Circuit analyzing the convenience of the parties in the context

 of a motion to transfer venue do so under the framework set forth in CORCO, 596 F.2d at 1247:

        (1)        The proximity of creditors to the actual courthouse;
        (2)        The proximity of the debtor to the courthouse;
        (3)        The proximity of witnesses necessary to the administration of the estate;
        (4)        The location of the debtor’s assets;
        (5)        The economic administration of the estate; and
        (6)        The necessity for ancillary administration if liquidation should result.
 See, e.g., In re Moss, 249 B.R. 411, 425 (Bankr. N.D. Tex. 2000); In re Scotia Dev., LLC, 2007

 WL 1192137, at *8. Of these factors, the “most important consideration is whether the requested

 transfer would promote the economic and efficient administration of the estate.” CORCO, 596

 F.2d at 1247.

                                     a. The Debtors’ Largest Creditor and the Most Critical Party in
                                        Interest in the Chapter 11 Cases Is Located Near This Court
        22.        The Committee asserts that “[t]he Debtors have no connection whatsoever to

 Dallas or any other location in the Northern District of Texas.” Again the Committee’s rhetoric

 gets ahead of its facts, ignoring, among other things, that CLMG—the Prepetition Agent and the

 DIP Agent—is a resident of the Dallas-Fort Worth metroplex.

        23.        CLMG has its headquarters in Plano, Texas. Though its address is in the Eastern

 District of Texas, CLMG is just over twenty miles from this Court. The principals of the

 Prepetition Lender and the DIP Lender are also located in Plano, Texas. As the Prepetition


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     Lender, LNV is the Debtors’ largest creditor. Pursuant to the Prepetition Credit Agreement and

     the Guaranty, each of the Debtors, either as the primary obligor or as a guarantor, is directly

     liable to the Prepetition Lender in an amount that exceeds $400 million. See Plato Decl. ¶¶ 13,

     14 (principal amount outstanding is approximately $372 million with interest unpaid since Sept.

     30, 2014 and other expenses accruing). Unfortunately, though this debt is secured by

     substantially all of the Debtors’ assets, it likely far exceeds the value of the property securing it.

     As such, the Prepetition Lender will hold a substantial unsecured deficiency claim which it

     believes will dwarf all other unsecured claims in these Chapter 11 Cases.9

             24.     In addition, LNV, as the DIP Lender, has committed up to $17.5 million to fund

     the Debtors’ operations through the conclusion of an Acceptable Sale Process (as such term is

     defined in the DIP Motion), and to support the prosecution of the Chapter 11 Cases thereafter

     through a wind down budget. Absent this funding, the Debtors would have had to cease

     operations and liquidate. See Plato Decl. ¶ 45 (“[T]he Debtors are unable to operate without

     post-petition financing. . . . As of the Petition Date, the Debtors had minimal cash in their

     accounts.”). Absent the funding, the Chapter 11 Cases could not proceed. See id.

             25.     Further, because LNV is substantially undersecured and has a lien on substantially

     all of the Debtors’ assets, it will bear the entire burden of funding these Chapter 11 Cases.

     Importantly, even the Committee’s costs will be funded by the DIP loans.

             26.     In addition to being the largest creditor and funding these Chapter 11 Cases,

     CLMG and LNV could take on an even larger role in these Chapter 11 Cases. As described in

     the DIP Motion and more fully described in the Sale Procedures Motion, the Debtors propose to
9
     The Committee recognizes the significance of the Prepetition Lender’s deficiency claim in the Motion:
     “[C]reditor recoveries in this case could well depend on [whether CLMG waives its deficiency claim and
     liens on the Debtors’ non-California assets in accordance with the terms of a restructuring support
     agreement]. [If] CLMG . . . waive[s] its deficiency claim and release[s] any and all liens it has on the
     Debtors’ [non-California] assets [they will be freed] up for unsecured creditors.” Mot. ¶ 25.


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     sell their California assets in an auction conducted under the supervision of this Court. See Sale

     Procedures Mot., at 2. To the extent that no acceptable bid is forthcoming, LNV also may

     become the purchaser of the Debtors’ California assets pursuant to a credit bid.

             27.     CLMG has taken and will continue to take an active role in these Chapter 11

     Cases, attending hearings and filing papers as appropriate. Indeed, any in-person negotiations

     between the Debtors, CLMG, LNV, and the Committee will likely occur in Dallas. Moving

     these cases to California—far from the key parties that will negotiate a reorganization of the

     Debtors and far from the Debtors’ source of funding—simply does not make sense.

             28.     The Committee chooses to ignore CLMG and LNV (and also the location of the

     Committee’s own Houston-based Chairman), and focus instead on the alleged “small, family

     owned businesses, virtually all of which are located in California,”10 in urging this Court to cede

     the Chapter 11 Cases to the Central District of California to avoid “unnecessary prejudice and

     hardship.” Mot. ¶ 37. In doing so, the Committee grossly overstates its case.

             29.     As an initial matter, the Committee states that “[a]ll but one of the [Committee]

     members is located in Santa Barbara County, California,” Mot. ¶ 18. This is simply wrong.

     Only one Committee member is located in Santa Barbara County. The chairman of the

     Committee is located in Houston, Texas. Two other members of the Committee are located in

10
     Characteristic of its rhetoric throughout the Motion, the Committee appears to use the term “small
     businesses” more for effect than as a meaningful description. The label is offered generically for the
     “many” unnamed creditors the Committee claims will be prejudiced. The only businesses it specifically
     identifies as “small businesses” are its four California-based members. See Mot. ¶ 50. Superficial
     research on these entities indicates that the Committee’s definition of “small” may be different from an
     ordinary understanding of that term. For example, SCS Engineers lists annual revenue of over
     $45 million on its website. See http://www.scsengineers.com/Pubs-News/bull13.html. This makes SCS
     Engineers, an environmental consulting service, triple the maximum size for classification as a “small
     business” under the Federal Small Business Administration’s standard. See 13 C.F.R. § 121.201 (NAICS
     Code 541620). Likewise, according to the website manta.com, MMI Services, Inc. has estimated revenue
     of $50 million to $100 million. MMI Services, an oil field services provider, would also surpass the
     applicable maximum small business revenue threshold with that level of revenue. See id. (NAICS
     Code 213112).


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 Bakersfield, California, which is in Kern County—a nearly three hour drive from Santa Barbara.

 Another Committee member is located in Long Beach, California, which is Los Angeles County,

 approximately 115 miles away from Santa Barbara—a two hour drive without considering traffic

 delays. In short, Santa Barbara is not a readily accessible venue for the vast bulk of Committee

 members. Not even the Committee’s Los Angeles based lawyers will find Santa Barbara a

 convenient venue. Such lawyers face well over a two hour drive to Santa Barbara under typical

 traffic conditions. Importantly, one of the Committee’s lead lawyers, Robert Feinstein, is based

 in New York City—much closer to Dallas than Santa Barbara.

           30.     Further, many of the Debtors’ California-based creditors are unlikely to attend

 hearings in these Chapter 11 Cases regardless of where the cases proceed. Indeed, the very

 purpose of the Committee is to represent and advocate for the interests of creditors that otherwise

 generally would not participate in a chapter 11 case. See generally 11 U.S.C. § 1103(c)(3),

 (c)(5); see also In re ABC Auto. Prods. Corp., 210 B.R. 437, 441 (Bankr. E.D. Pa. 1997) (“The

 function of the committee is to represent and protect the interests of the unsecured creditors in

 the plan negotiation process and throughout the entire bankruptcy case.”) (citing H.R. Rep. No.

 595, 95th Cong., 1st Sess. 235, 401 (1978)). Here, the Committee has retained capable counsel

 and the interests of unsecured creditors as a whole, including trade creditors, will be well

 represented. Indeed, by requesting an alternative transfer to Houston or Beaumont (both of

 which are further from Santa Barbara than is Dallas) the Committee admits that it can do its job

 in those places. Certainly, then, it can do its job in Dallas.

           31.     Finally, CLMG notes that the Court readily allows creditors to appear by phone

 when needed and the Debtors have retained a claims agent to effectively and efficiently handle

 claims.




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        32.      Under these circumstances, it is simply false that proceeding in this Court will

 “deny any meaningful participation by the many California-based, family-owned businesses who

 [sic] are owed significant amount by the Debtors and cannot afford the additional expense of

 traveling to Texas and engaging local counsel.” Mot. ¶ 2.

                             b. The Debtors Are Close to This Court
        33.      “The Debtors’ corporate headquarters is located in Houston, Texas.” Plato Decl.

 ¶ 6. Houston is a one hour flight from this Court, with Houston flights arriving at least hourly to

 Dallas Love Field. Put simply, the Debtors are close to this Court, especially relative to the

 Committee’s preferred venue. They are more than 1,400 miles from the Santa Barbara

 Bankruptcy Court and there are no direct flights from Houston to Santa Barbara. Moving these

 cases to Santa Barbara will impose significant travel burdens and the cost of local counsel on the

 Debtors. This makes no sense.

        34.      The Committee insinuates that the Debtors’ control persons might not actually be

 in Houston, claiming that it is “unclear based on the Debtors’ filing to date” whether “the

 Debtors make their management and operational decisions from the Houston location.” Mot.

 ¶ 40. Instead the Committee relies on the Debtors’ employee headcount in Santa Barbara County

 (and Kern County), id. at ¶¶ 21, 39, and the fact that one of the Debtors’ ultimate equity owners

 threw a party in Santa Barbara in 2012 (as reported in an article referring to him as a

 “Houstonian”), id. at ¶ 39 & n.5. The location of the Debtors’ control persons can no longer be

 “unclear” to the Committee. Since filing the Motion, the Committee has noticed depositions for

 two representatives of the Debtors: R. Kelly Plato, the Debtors’ CEO, and Rebecca Roof, the

 Debtors’ CRO. See Amended Notice of Deposition [D.I. 141]. These depositions will take

 place in Houston where such persons are located. Id. at 2.

        35.      As noted by the Fifth Circuit in CORCO, the purpose of a reorganization


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 proceeding is to restructure a debtor’s finances and the logical place for such a proceeding is

 “[w]here the corporation transacts its corporate business.” CORCO, 596 F.2d at 1247. This is so

 because that is where the people “charged with this responsibility” reside. Id. That is certainly

 the case here. The Debtors’ CEO and CRO—employees that are essential to the reorganization

 and will undoubtedly be called to testify during the course of these Chapter 11 proceedings—

 maintain their offices in Houston. This Court is considerably more convenient for the Debtors

 than the bankruptcy court in Santa Barbara would be. Moreover, this case is primarily about

 resolving the $400 million in secured debt owed to LNV, and LNV’s decision makers are located

 in the Dallas metroplex, not in California.

        36.      The situation in In re Pope Vineyards, 90 B.R. 252 (Bankr. S.D. Tex. 1988), cited

 by the Committee to support its contention that venue may appropriately be transferred away

 from a debtor’s management operations, is clearly distinguishable from the Debtors’ situation.

 In Pope Vineyards, a vineyard affiliated with a bankrupt oil and gas company filed a bankruptcy

 petition in the Southern District of Texas. Id. at 253. The vineyard filed in the Southern District

 because its affiliate’s chapter 11 case was pending there. Id. at 254. The vineyard argued that

 the Southern District of Texas was a more convenient forum as its principal resided in Houston;

 however, the court noted that he only spent five to ten hours a week working on the vineyard,

 traveled to the vineyard monthly, and was concentrated on the reorganization of the affiliated oil

 and gas business. Id. at 256-57. The “real business” of the vineyard, including the negotiation

 of contracts, maintenance of company records, and preparation of financial statements and

 budgets, was conducted by individuals located in California. Id. at 257-58. Noting that the

 individuals associated with the “real business” of the Debtors would be greatly inconvenienced

 by maintaining venue in the Southern District, while the executive with limited involvement




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 would only be slightly inconvenienced by a transfer, the Court found that the convenience of the

 witnesses factor weighed in favor of transferring venue. Id. at 258.

        37.      In deciding that the convenience of the witnesses tipped in favor of transfer, the

 Pope Vineyards court acknowledged that its decision could be interpreted as contrary to the

 CORCO court’s instruction that reorganization should take place where the corporate business

 was transacted. It reconciled this contradiction by stating that the particular facts of Pope

 Vineyards militated in favor of transfer. Here, the facts do not support a similar exception. The

 Debtors’ management, including those individuals that are in charge of its “real business,” are

 located in Texas. So is LNV, the largest creditor, DIP lender, and potential purchaser. The out-

 of-court negotiations in this case will take place in board rooms and offices throughout Texas,

 including in the Dallas metroplex. In sum, as was the case in CORCO, the proper place for the

 Debtor’s reorganization is here.

                                   c. Key Witnesses Are Located in Texas
        38.      The Committee has not identified any necessary witnesses that would be

 inconvenienced by the maintenance of venue in this Court. Despite hypothesizing that the

 Debtors’ management who will likely be called as witnesses may be located in California, the

 Committee issued deposition subpoenas for Mr. Plato and Ms. Roof in connection with the Sale

 Procedures Motion, the DIP Motion, and this Motion. See Amended Notice of Deposition [D.I.

 141]. Both Mr. Plato and Ms. Roof will likely be required to testify at trial, and, as stated above,

 are based out of Texas. Indeed, to date, the Committee has not noticed the deposition of any

 person located in California.

                                   d. The Location of the Debtors’ Assets
        39.      The Committee makes a number of arguments concerning the location of the

 Debtors’ assets (and even assets that are not the Debtors) in urging the Court to transfer venue.


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 These arguments all must fail. First, the Sale Procedures Motion contemplates a process—the

 implementation of which is a condition to continued DIP financing—by which the Debtors will

 sell all of their California assets in the near term, necessarily leaving the Debtors with no

 California assets after closing. Second, the sole piece of property in California that the

 Committee mentions in the Motion that is not proposed to be sold in the Sale Procedures Motion

 is not the property of any Debtor. Third, the Committee cites old authority for the notion that the

 involvement of important real estate assets warrants transfer to the venue where the real estate is

 located and that local and federal regulation of the Debtors’ operations in California do too. The

 Committee is wrong.

        40.      The Committee is correct that a large portion of the Debtors’ operating assets are

 located in California. See Mot. ¶ 39. The Committee is also correct that the Debtors intend to

 sell those assets in these Chapter 11 Cases. Id. at ¶ 7. It is important that this sale be completed

 promptly as the Debtors’ revenues are inadequate to fund their operations. See Plato Decl. ¶ 45.

 Once the California assets are sold, the Debtors will have no further assets in California and any

 reorganization will be accomplished around the Debtors’ Texas assets. See Plato Decl. ¶ 3

 (“[T]he Debtors’ primary objective in commencing these chapter 11 cases is to pursue the sale of

 their assets located in California and then pursue a plan based upon the remaining assets . . . .”).

 Thus, within a matter of months, the Debtors’ “principal asset” for the remainder of these

 Chapter 11 Cases will likely be in Liberty County, Texas, far away from Santa Barbara,

 California.

        41.      The Committee is also correct that Mr. Wood’s Lambert Road Property is located

 in California. Mot. ¶ 25. The Committee is incorrect, however, to refer to it in connection with

 its Motion because the CORCO analysis—which the Committee agrees governs—inquires only




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 into the location of property of the debtors and not of any other person. Mr. Wood is not a

 Debtor. The location of his property is not relevant to the Motion.

        42.      The Committee cites the opinion of the Bankruptcy Court for the Southern

 District of Texas in Pope Vineyards, 90 B.R. 252, for the proposition that cases concerning real

 property should be venued where their real property is. See id. at ¶¶ 45-47. Since then, the

 Southern District has apparently moved away from any focus on the location of real property in

 evaluating a request to transfer.

        43.      The debtors in Scotia Development—which filed in the Southern District of Texas

 nearly twenty years after Pope Vineyards—were primarily engaged in timber harvesting in

 California’s Humboldt County. Indeed, one of the debtors “own[ed] the real estate, housing, and

 all improvements of the town of Scotia, California.” 2007 WL 1192137, at *1 (emphasis added).

 To be clear, it owned an entire California town. Additionally, it owned, directly or indirectly,

 10,500 acres of timberlands. Id. at *2. A different debtor owned over 200,000 acres of

 timberlands. Id. Despite all of this real estate in California (an area nearly the size of Dallas)

 balanced against only an office lease in the debtors’ chosen venue (which the movants likened to

 a “phone booth,” id. at *7), the Scotia Development court denied the motion to transfer venue to

 California. Id. at *8-9.

        44.      Similarly, the movants in Scotia Development, like the Committee here, argued

 that a pervasive state regulatory scheme and intense local interest in the debtors’ operations

 required a transfer of their cases to the venue of the debtors’ main operations. As CLMG asks

 the Court to do here, the court in Scotia Development rejected the movants’ arguments. The

 Scotia Development court explained that the debtors’ operations had to continue to comply with

 applicable state and federal laws notwithstanding the bankruptcy; that a plan could not




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 restructure those laws; and that if the debtors failed to comply with environmental laws, they

 would be subject to enforcement actions in any appropriate venue just the same as if they were

 not in a bankruptcy proceeding. See id. at *8-9.

        45.      The location of the Debtors’ assets simply does not carry the weight the

 Committee urges in analyzing a motion to transfer venue. Moreover, a transfer now to

 California solely to be near the assets that are contemplated to be promptly sold would make

 little sense where the Debtors’ remaining assets would be much closer to this Court.

                                   e. The Chapter 11 Cases Can Be Most Efficiently Administered
                                      in This Court
        46.      As noted above, the most important factor when weighing whether to transfer

 venue is whether the requested transfer would promote the economic and efficient administration

 of the estate. CORCO, 596 F.2d at 1248.

        47.      As described in the Plato Declaration, the Debtors commenced the Chapter 11

 Cases to conduct a prompt, value maximizing sale of their assets in California and effect a

 subsequent reorganization around their remaining assets in Texas. Plato Decl. ¶ 3. To that end,

 the Debtors filed the Sale Procedures Motion seeking approval of Bid Procedures that would

 culminate in a court-supervised auction on July 16, 2015. The Debtors believe that the proposed

 sale represents the “best strategy to maximize value for the Debtors’ various stakeholders.” Sale

 Procedures Mot., 4. Indeed, the Debtors have asserted that the “[c]ompletion of the sale process

 in a timely manner will . . . maximize the value of the [Debtors’ California assets] and value

 available for unsecured creditors.” Id. at 7. The Debtors also caution that “failure to adhere to

 [the sale milestones] could jeopardize the closing of the Sale, which the Debtors believe is the

 best means of maximizing the value to be achieved for the Assets and unsecured creditors.” Id.

        48.      Transferring the Chapter 11 Cases would disrupt the positive momentum that the



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 Debtors have generated and most assuredly cause the Debtors to miss the sale-related milestones

 proposed in the Sale Procedures Motion and the DIP Motion. See In re Pavilion Place Assocs.,

 88 B.R. 32, 35 (Bankr. S.D.N.Y. 1988) (“Transfer is a cumbersome disruption of the Chapter 11

 process.”); see also CORCO, 596 F.2d at 1248 (affirming bankruptcy court’s determination that

 transfer of cases would be disruptive, militating against transfer). The DIP Lender has only

 committed to fund these cases and businesses for a limited period of time and premised its DIP

 financing on a filing in this Court. The disruption caused by transferring venue would likely

 telescope the life of the Chapter 11 Cases past that timeframe and jeopardize the Debtors’ DIP

 financing and ability to reorganize.

        49.      Moreover, the Committee has not called into question this Court’s ability to

 economically and efficiently administer the Chapter 11 Cases. Surely, it cannot. This Court has

 overseen numerous cases involving debtors in the oil and gas business, including: In re Eastern

 1996D Ltd. P’ship (No. 13-34773); In re Heritage Consolidated, LLC (No. 10-36484); In re

 Carole Petrol., LLC (No. 09-37746); In re Provident Royalties, LLC (No. 09-33886); In re

 Sonoran Energy, Inc. (No. 09-33852); In re CrossPoint Energy Holdings, LLC (No. 08-34666);

 and In re Eddie Mayo Oil Props., Inc. (No. 08-70241). As such, with its extensive experience in

 oil and gas reorganizations and attendant issues, including particular valuation concerns in the oil

 and gas arena, there is no doubt that this Court can capably and efficiently administer the

 Chapter 11 Cases.

        50.      Further, as described in greater detail above, the convenience of the key

 participants in these Chapter 11 Cases will be served if the cases remain in this District. With

 regards to the Debtors, it will be much easier for their Houston-based management to participate

 in the in-court aspects of the Chapter 11 Cases if the cases remain here than if they are




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 transferred to Santa Barbara. Moreover, if venue is maintained in this Court, the Debtors’

 managers will be able to focus more of their efforts on reorganizing around the Debtors’ Texas

 assets. And, as noted above, LNV is located in the Dallas metroplex and is absolutely critical to

 the success of these cases. As was the case in CORCO, where the Fifth Circuit ruled that

 transferring venue from Texas was not in the debtor’s best interest, the Debtors’ problems are

 financial. See CORCO, 596 F.2d at 1248. The people who can solve those problems are in

 Texas, including Dallas. It will be less disruptive to the continued operation of the Debtors if

 this case remains here.

        51.      Finally, on the whole, maintaining venue in this Court will be more convenient

 than the Committee’s preferred Santa Barbara location would be for the professionals in this

 matter—the individuals who will be before this Court most often. There are no direct flights to

 Santa Barbara from Houston, where Debtors’ counsel is based; or from New York, where Mr.

 Feinstein is based. Indirect flights from Houston to Santa Barbara are at least five to six hours

 long; whereas direct flights from Houston to Dallas are only an hour long. Similarly, connecting

 flights from New York to Santa Barbara are over seven and half hours long; whereas direct

 flights from New York to Dallas are less than three and a half hours long.

        52.      Even the Committee’s Los Angeles-based counsel is a long way from Santa

 Barbara, and can nearly as easily get to Dallas. Typically, in the morning, it can take up to two

 and a half hours to drive from Los Angeles to Santa Barbara. As such, Santa Barbara is not

 significantly less convenient than Dallas for those Los Angeles-based individuals that will be

 involved in these Chapter 11 Cases, who can take three hour flights to Dallas. In short, Dallas is

 more convenient for the majority of individuals expected to frequently appear before this Court.




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                                   f. Necessity for Ancillary Administration If Liquidation Should
                                      Result
        53.      If the Sale Procedures Motion is approved, which, for the reasons stated above

 and in the Sale Procedures Motion, CLMG believes it should be, the Debtors will sell all of their

 California assets at an auction on July 16, 2015. Therefore, if there is a liquidation in these

 Chapter 11 Cases, it will be of the Debtors’ assets in Texas. Thus, this factor militates in favor

 of retaining venue in this Court.

        2.       The Interest of Justice Will Be Served If Venue Is Retained by This Court
        54.      As with the “convenience of the parties” analysis, the Committee does not satisfy

 its burden of proving by a preponderance of the evidence that the “interest of justice” will be

 served by transferring the cases to Santa Barbara (or to the Southern District of Texas or the

 Eastern District of Texas). Generally, the “interest of justice” standard is flexible, and courts

 consider the efficient administration of the bankruptcy estate, judicial economy, timeliness, and

 fairness. See BRDC Lofts, No. 12-11559-CAG, 2013 WL 395129, at *3 (Bankr. W.D. Tex. Jan.

 13, 2013).

        55.      As explained in detail above, maintaining venue in this Court will lead to an

 efficient and economic administration of the Debtors’ estates. It will allow the Debtors’

 principals to be available as witnesses and actively participate in the in-court restructuring, while

 devoting sufficient attention to the out-of-court restructuring process and operations of the

 debtors-in-possession. It will also allow the Debtors’ largest creditor, DIP lender, and potential

 purchaser of its assets to fully participate in these cases. Moreover, maintaining the current

 venue will not materially prejudice the Debtors’ other creditors. To the contrary, efficiently

 administering these cases will increase the likelihood of a successful sales process and

 reorganization, which will benefit, not prejudice, creditors.



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           56.     Finally, fairness is not served by transferring the Chapter 11 Cases away from the

 Debtors’ proper choice of venue based on the Committee’s exaggerations, misrepresentations,

 and manufactured outrage. Notably, the Committee revisits the theme of forum shopping

 throughout the Motion. At one point, the Committee quotes the bankruptcy court in Abacus

 Broadcasting Corp., 154 B.R. 682, 686-87 (Bankr. W.D. Tex. 1993) as follows:

           How much deference should be given to a forum selected primarily by the lawyers, for
           their own convenience or concern for remuneration? How much deference should be
           given to a debtor’s concern that it get what it perceives to be a “debtor’s judge?”
           Whenever a creditor raises the venue question, none at all.

 Mot. ¶ 33. Setting aside that this view of the law is inconsistent with the vast weight of authority

 on deference to debtor venue preference—which necessarily developed in the context of creditor

 questioning—reference to it in this case verges on inflammatory. Is the Committee suggesting

 that the Northern District is more fee friendly than the Southern District of Texas, the Eastern

 District of Texas, or the Central District of California? Or is the Committee suggesting that this

 Court is more debtor friendly than the three suggested alternative courts?

           57.     Ultimately, it is not clear what the Committee is suggesting by its allegations of

 forum shopping because it does not so much as speculate as to what advantage the Debtors might

 gain from filing in this District as opposed to the Central District of California, the Southern

 District of Texas, or the Eastern District of Texas. The Committee just says it “smells” forum

 shopping. Mot. ¶ 34. And, aside from its citation to Abacus Broadcasting, the Committee never

 once suggests that it will not be treated fairly by this Court.

           58.     Because the Debtors properly commenced the Chapter 11 Cases in this Court and

 because they can be fairly and efficiently administered in this Court the Motion should be

 denied.




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                                     CONCLUSION

        WHEREFORE, CLMG respectfully requests that the Court deny the Motion.


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                                  CERTIFICATE OF SERVICE

         The undersigned certifies that notice of the foregoing document was sent on the date
 thereof to all parties receiving electronic notification in this bankruptcy case from the Court’s
 electronic filing system.

                                                       /s/ Craig H. Averch
                                                       Craig H. Averch, Esq.




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                               Exhibit A




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                                         Exhibit B
                                             Case                           Principal
                        Case Name           Number     Date Filed       Place of Business
In re EveryWare Global, Inc.                15-10743    04/07/2015   Lancaster, OH
In re Allen Systems Group, Inc.             15-10334    02/18/2015   Naples, FL
In re Cache, Inc.                           15-10172    02/04/2015   New York, NY
In re Hipcricket, Inc.                      15-10104    01/20/2015   Bellevue, VA
In re Seal123, Inc.                         15-10081    01/20/2015   Foothill Ranch, CA
In re Fisker Automotive Holdings, Inc.      13-13086    11/22/2013   Anaheim, CA
In re Prince Sports Holdings, Inc.          12-11440    05/01/2012   Bordentown, NJ
In re AFA Investment Inc.                   12-11127    04/02/2012   King of Prussia, PA
In re JER/Jameson Mezz Borrowers II LLC     11-13392    10/25/2011   Smyrna, GA
In re NewPage Corp.                         11-12804    09/07/2011   Miamisburg, OH
In re Solyndra LLC                          11-12799    09/06/2011   Fremont, CA
In re PTL Holdings, LLC                     11-12676    08/23/2011   Grapevine, TX
In re Evergreen Solar, Inc.                 11-12590    08/15/2011   Marlboro, MA
In re FKF Madison Group Owner, LLC          10-11867    06/08/2010   New City, NY
In re U.S. Concrete, Inc.                   10-11407    04/29/2010   Houston, TX
In re Point Blank Solutions, Inc.           10-11255    04/14/2010   Pompano Beach, FL
In re Latham Intern., Inc.                  09-14490    12/22/2009   Latham, NY
In re Majestic Star Casino II LLC           09-14135    11/23/2009   Las Vegas, NV
In re Visteon Corporation, et al            09-11786    05/28/2009   Van Buren Township, MI
In re FB Liquidating Estate                 09-11525    05/04/2009   Burlington, MA
In re Accredited Home Lenders Holding Co.   09-11516    05/01/2009   San Diego, CA
In re Pacific Energy Resources, Ltd.        09-10785    03/09/2009   Los Angeles, CA
In re Qimonda Richmond, LLC                 09-10589    02/20/2009   Sandston, VA
In re WL Homes LLC                          09-10571    02/19/2009   Irvine, CA
In re Metromedia Steakhouses Co., L.P.      08-12492    10/22/2008   Plano, TX
In re WorldSpace, Inc.                      08-12412    10/17/2008   Silver Spring, MD
In re Intermet Corp.                        08-11859    08/12/2008   Fort Worth, TX
In re TSG Group, Inc.                       07-11337    09/14/2007   Lindon, UT
In re Mortgage Lenders Network USA, Inc.    07-10146    02/05/2007   Middletown, CT
In re Nellson Nutraceutical, Inc.           06-10072    01/28/2006   Irwindale, CA


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